              Case 2:23-bk-18198-DS                                 Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                                          Desc
                                                                    Main Document    Page 1 of 52
 Fill in this information to identify your case and this filing:

  Debtor 1                 Robert                                                    Hernandez
                           First Name                  Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                          Central                   District of         California

  Case number             2:23-bk-18198-DS                                                                                                                             ❑ Check if this is an
                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ✔ No. Go to Part 2.
        ❑
        ❑ Yes. Where is the property?
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1                                                       ❑ Single-family home                                                  the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                portion you own?
                                                                  ❑ Land
                                                                  ❑ Investment property
                City               State         ZIP Code         ❑ Timeshare                                                          Describe the nature of your ownership interest
                                                                  ❑ Other                                                              (such as fee simple, tenancy by the entireties, or
                                                                  Who has an interest in the property? Check one.                      a life estate), if known.
                County
                                                                  ❑ Debtor 1 only
                                                                  ❑ Debtor 2 only                                                      ❑ Check if this is community property
                                                                  ❑ Debtor 1 and Debtor 2 only                                              (see instructions)
                                                                  ❑ At least one of the debtors and another
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                                                       $0.00
        you have attached for Part 1. Write that number here ...................................................................................................


  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑




Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 1
             Case 2:23-bk-18198-DS                                 Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                                           Desc
                                                                   Main Document    Page 2 of 52
Debtor Hernandez, Robert                                                                                                    Case number (if known) 2:23-bk-18198-DS



       3.1     Make:                           Triumph           Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
                                               Street
               Model:
                                                                 ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.

               Year:                           2017              ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another                            entire property?                portion you own?
               Approximate mileage:            4,000
                                                                 ❑ Check if this is community property (see                                             $7,000.00                 $7,000.00
               Other information:                                     instructions)




 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes

       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
               Model:
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
                                                                 ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
               Year:                                             ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another                            entire property?                portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                  $7,000.00
       you have attached for Part 2. Write that number here ...................................................................................................


  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                    Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    Household goods and furnishings                                                                                                        $3,500.00


 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    Electronics                                                                                                                            $1,500.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 2
             Case 2:23-bk-18198-DS                                       Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                                           Desc
                                                                         Main Document    Page 3 of 52
Debtor Hernandez, Robert                                                                                                               Case number (if known) 2:23-bk-18198-DS



 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                       Collectibles of value                                                                                                                     $2,000.00


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                       Equipment for sports and hobbies                                                                                                           $600.00


 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                       Clothes                                                                                                                                   $1,800.00


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. .............




                                                                                                                                                                              ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                     $9,400.00
       for Part 3. Write that number here .................................................................................................................................


  Part 4:            Describe Your Financial Assets

 Do you own or have any legal or equitable                             Current value of the portion you own?
 interest in any of the following?                                     Do not deduct secured claims or exemptions.



Official Form 106A/B                                                                      Schedule A/B: Property                                                                           page 3
              Case 2:23-bk-18198-DS                                            Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                                                     Desc
                                                                               Main Document    Page 4 of 52
Debtor Hernandez, Robert                                                                                                                          Case number (if known) 2:23-bk-18198-DS



 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ❑ No
       ✔ Yes ...................................................................................................................................................
       ❑                                                                                                                                                              Cash: ...................            $20.00


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                             17.1. Checking account:                           SoFi                                                                                                      $4,000.00


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................          Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them....................        Name of entity:                                                                                                        % of ownership:




 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them....................        Issuer name:




Official Form 106A/B                                                                              Schedule A/B: Property                                                                                   page 4
            Case 2:23-bk-18198-DS                               Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                  Desc
                                                                Main Document    Page 5 of 52
Debtor Hernandez, Robert                                                                                   Case number (if known) 2:23-bk-18198-DS



 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑ No
       ✔ Yes. List each
       ❑
           account separately. Type of account:                 Institution name:

                                      401(k) or similar plan:    ADP                                                                                    $0.00


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................                        Institution name or individual:

                                      Electric:

                                      Gas:

                                      Heating oil:

                                      Security deposit on rental unit:

                                      Prepaid rent:

                                      Telephone:

                                      Water:

                                      Rented furniture:

                                      Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................    Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



Official Form 106A/B                                                       Schedule A/B: Property                                                      page 5
           Case 2:23-bk-18198-DS                      Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                      Desc
                                                      Main Document    Page 6 of 52
Debtor Hernandez, Robert                                                                           Case number (if known) 2:23-bk-18198-DS




 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                them, including whether you                                                                  Federal:
                already filed the returns and
                                                                                                             State:
                the tax years. ...................
                                                                                                             Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                             Alimony:

                                                                                                             Maintenance:

                                                                                                             Support:

                                                                                                             Divorce settlement:

                                                                                                             Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........




Official Form 106A/B                                               Schedule A/B: Property                                                           page 6
             Case 2:23-bk-18198-DS                                       Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                                                   Desc
                                                                         Main Document    Page 7 of 52
Debtor Hernandez, Robert                                                                                                               Case number (if known) 2:23-bk-18198-DS



 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ✔ No
       ❑
       ❑ Yes. Name the insurance company
                   of each policy and list its value. ...            Company name:                                             Beneficiary:                                       Surrender or refund value:




 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........



                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                 $4,020.00
       for Part 4. Write that number here .................................................................................................................................


  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.
                                                                                                                                                                                    Current value of the
                                                                                                                                                                                    portion you own?
                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                    claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                      page 7
             Case 2:23-bk-18198-DS                                       Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                                           Desc
                                                                         Main Document    Page 8 of 52
Debtor Hernandez, Robert                                                                                                               Case number (if known) 2:23-bk-18198-DS



 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                         Name of entity:                                                                                            % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                   ❑ No
                   ❑ Yes. Describe. .........


 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                         $0.00
       for Part 5. Write that number here .................................................................................................................................




Official Form 106A/B                                                                      Schedule A/B: Property                                                                         page 8
             Case 2:23-bk-18198-DS                                       Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                                                 Desc
                                                                         Main Document    Page 9 of 52
Debtor Hernandez, Robert                                                                                                               Case number (if known) 2:23-bk-18198-DS



  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




                                                                                                                                                                              ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                  $0.00
       for Part 6. Write that number here .................................................................................................................................


  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                            ➔                       $0.00




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                  page 9
             Case 2:23-bk-18198-DS                                        Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                                                    Desc
                                                                          Main Document    Page 10 of 52
Debtor Hernandez, Robert                                                                                                                   Case number (if known) 2:23-bk-18198-DS



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔              $0.00


 56.   Part 2: Total vehicles, line 5                                                                                  $7,000.00

 57.   Part 3: Total personal and household items, line 15                                                             $9,400.00

 58.   Part 4: Total financial assets, line 36                                                                         $4,020.00

 59.   Part 5: Total business-related property, line 45                                                                      $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                             $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                         $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                             $20,420.00            Copy personal property total             ➔   +     $20,420.00



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                                 $20,420.00




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                page 10
                    Case 2:23-bk-18198-DS                   Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                    Desc
                                                            Main Document    Page 11 of 52
 Fill in this information to identify your case:

  Debtor 1                    Robert                                   Hernandez
                              First Name           Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name        Last Name

  United States Bankruptcy Court for the:                        Central District of California

  Case number                     2:23-bk-18198-DS                                                                                  ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                   04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount.
However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on             Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                     portion you own
                                                           Copy the value from         Check only one box for each exemption.
                                                           Schedule A/B
 Brief description:
                                                                                       ✔
                                                                                       ❑            $5,940.00                   C.C.P. § 703.140(b)(2)
 2017 Triumph Street                                                      $7,000.00
                                                                                       ❑ 100% of fair market value, up
 Line from                                                                                 to any applicable statutory limit
 Schedule A/B:          3.1
                                                                                       ✔
                                                                                       ❑               $0.00                    C.C.P. § 703.140(b)(5)
                                                                                       ❑ 100% of fair market value, up
                                                                                           to any applicable statutory limit


 Brief description:
                                                                                       ✔
                                                                                       ❑            $3,500.00                   C.C.P. § 703.140(b)(3)
 Household goods and furnishings                                          $3,500.00
                                                                                       ❑ 100% of fair market value, up
 Line from                                                                                 to any applicable statutory limit
 Schedule A/B:          6


 3.   Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        ❑ No
        ❑ Yes


Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                   page 1 of 2
                 Case 2:23-bk-18198-DS                Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                 Desc
                                                      Main Document    Page 12 of 52
 Debtor 1             Robert                                  Hernandez                                    Case number (if known) 2:23-bk-18198-DS
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from     Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                              ✔
                                                                              ❑            $1,500.00                   C.C.P. § 703.140(b)(3)
 Electronics                                                      $1,500.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:           7

 Brief description:
                                                                              ✔
                                                                              ❑            $2,000.00                   C.C.P. § 703.140(b)(3)
 Collectibles of value                                            $2,000.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:           8

 Brief description:
                                                                              ✔
                                                                              ❑              $600.00                   C.C.P. § 703.140(b)(3)
 Equipment for sports and hobbies                                   $600.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:           9

 Brief description:
                                                                              ✔
                                                                              ❑            $1,800.00                   C.C.P. § 703.140(b)(3)
 Clothes                                                          $1,800.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:         11

 Brief description:
                                                                              ✔
                                                                              ❑              $20.00                    C.C.P. § 703.140(b)(5)
 Cash                                                                $20.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:        16

 Brief description:
                                                                              ✔
                                                                              ❑            $4,000.00                   C.C.P. § 703.140(b)(5)
 SoFi                                                             $4,000.00
 Checking account                                                             ❑ 100% of fair market value, up
                                                                                 to any applicable statutory limit
 Line from
 Schedule A/B:        17

 Brief description:
                                                                              ✔
                                                                              ❑               $0.00                    C.C.P. § 703.140(b)(10)(E)
 ADP                                                                  $0.00
                                                                              ❑ 100% of fair market value, up
 Line from                                                                       to any applicable statutory limit
 Schedule A/B:        21




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                 page 2 of 2
                Case 2:23-bk-18198-DS                      Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                               Desc
                                                           Main Document    Page 13 of 52
 Fill in this information to identify your case:

     Debtor 1           Robert                                        Hernandez
                        First Name             Middle Name           Last Name

     Debtor 2
     (Spouse, if filing) First Name            Middle Name           Last Name

     United States Bankruptcy Court for the:               Central              District of     California

     Case number (if 2:23-bk-18198-DS
     known)                                                                                                                                    ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor              Column A               Column B               Column C
         separately for each claim. If more than one creditor has a particular claim, list the other            Amount of claim        Value of collateral    Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the       Do not deduct the
                                                                                                                                       that supports this     portion
         creditor’s name.                                                                                       value of collateral.
                                                                                                                                       claim                  If any

     2.1 FREEDOM ROAD FINANCIAL                        Describe the property that secures the claim:                      $1,060.00               $7,000.00            $0.00
         Creditor’s Name
                                                       2017 Triumph Street
         10509 Professional Cir
         Number     Street
                                                       As of the date you file, the claim is: Check all that apply.
                                                       ❑ Contingent
         Reno, NV 89521-5864                           ❑ Unliquidated
         City          State            ZIP Code
                                                       ❑ Disputed
         Who owes the debt? Check one.                 Nature of lien. Check all that apply.
         ✔ Debtor 1 only
         ❑                                             ❑ An agreement you made (such as mortgage or secured car loan)
         ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
         ❑ Debtor 1 and Debtor 2 only                  ❑ Judgment lien from a lawsuit
         ❑ At least one of the debtors and             ❑ Other (including a right to        RecreationalMerchandise
              another                                      offset)
         ❑ Check if this claim relates to a
              community debt
         Date debt was incurred         4/6/2019       Last 4 digits of account number         X    X       X   X

         Add the dollar value of your entries in Column A on this page. Write that number here:                           $1,060.00




Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
               Case 2:23-bk-18198-DS                   Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                            Desc
                                                       Main Document    Page 14 of 52
Debtor 1         Robert                                          Hernandez                       Case number (if known) 2:23-bk-18198-DS
                 First Name             Middle Name             Last Name


                                                                                                         Column A               Column B                Column C
                 Additional Page                                                                         Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                      that supports this      portion
                 After listing any entries on this page, number them beginning with 2.3,                 Do not deduct the
                 followed by 2.4, and so forth.                                                          value of collateral.
                                                                                                                                claim                   If any

  2.2                                              Describe the property that secures the claim:
        Creditor’s Name


        Number       Street
                                                   As of the date you file, the claim is: Check all that apply.
                                                   ❑ Contingent
                                                   ❑ Unliquidated
        City              State      ZIP Code
                                                   ❑ Disputed
        Who owes the debt? Check one.              Nature of lien. Check all that apply.
        ❑ Debtor 1 only                            ❑ An agreement you made (such as mortgage or secured car loan)
        ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
        ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
        ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                    offset)
        ❑ Check if this claim relates to a
          community debt
        Date debt was incurred                     Last 4 digits of account number

        Add the dollar value of your entries in Column A on this page. Write that number here:                          $0.00

        If this is the last page of your form, add the dollar value totals from all pages.                         $1,060.00
        Write that number here:




Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 2
                Case 2:23-bk-18198-DS                      Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                                Desc
                                                           Main Document    Page 15 of 52
 Fill in this information to identify your case:

  Debtor 1           Robert                                            Hernandez
                     First Name              Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                  Central               District of     California

  Case number        2:23-bk-18198-DS
  (if known)                                                                                                                                   ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ❑ No. Go to Part 2.
        ✔ Yes.
        ❑
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
        claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
        amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
        fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                             Total claim      Priority        Nonpriority
                                                                                                                                              amount          amount
  2.1 INTERNAL REVENUE SERVICE                           Last 4 digits of account number                                          $135.00          $135.00            $0.00
      Priority Creditor’s Name
                                                         When was the debt incurred?                      2021
         CENTRALIZED INSOLVENCY
         OPERATION
         PO BOX 7346                                     As of the date you file, the claim is: Check all that apply.
         Number    Street
                                                         ❑ Contingent
         PHILADELPHIA, PA 19101-7346                     ❑ Unliquidated
         City         State        ZIP Code
                                                         ❑ Disputed
         Who incurred the debt? Check one.
                                                         Type of PRIORITY unsecured claim:
         ✔ Debtor 1 only
         ❑
                                                         ❑ Domestic support obligations
         ❑ Debtor 2 only                                 ✔ Taxes and certain other debts you owe the government
                                                         ❑
         ❑ Debtor 1 and Debtor 2 only                    ❑ Claims for death or personal injury while you were intoxicated
         ❑ At least one of the debtors and another
                                                         ❑ Other. Specify
         ❑ Check if this claim is for a
            community debt

         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 7
                Case 2:23-bk-18198-DS                      Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                              Desc
                                                           Main Document    Page 16 of 52
Debtor 1          Robert                                            Hernandez                         Case number (if known) 2:23-bk-18198-DS
                  First Name               Middle Name             Last Name

      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 AMERICAN EXPRESS                                                   Last 4 digits of account number           0    4    9     3                            $7,092.00
      Nonpriority Creditor’s Name
                                                                         When was the debt incurred?                   6/26/2007
         PO BOX 297871
         Number        Street
                                                                         As of the date you file, the claim is: Check all that apply.

         FT LAUDERDALE, FL 33329-7871                                    ❑ Contingent
         City               State                          ZIP Code      ❑ Unliquidated
                                                                         ❑ Disputed
         Who incurred the debt? Check one.
         ✔ Debtor 1 only
         ❑                                                               Type of NONPRIORITY unsecured claim:
         ❑ Debtor 2 only                                                 ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                    ❑ Obligations arising out of a separation agreement or divorce that you did not report as
         ❑ At least one of the debtors and another                           priority claims
                                                                         ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify Credit Card
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes
  4.2 AMERICAN EXPRESS                                                   Last 4 digits of account number           7    7    6     3                            $1,416.00
      Nonpriority Creditor’s Name
                                                                         When was the debt incurred?                   10/7/2019
         PO BOX 297871
         Number        Street
                                                                         As of the date you file, the claim is: Check all that apply.

         FT LAUDERDALE, FL 33329-7871                                    ❑ Contingent
         City               State                          ZIP Code      ❑ Unliquidated
                                                                         ❑ Disputed
         Who incurred the debt? Check one.
         ✔ Debtor 1 only
         ❑                                                               Type of NONPRIORITY unsecured claim:
         ❑ Debtor 2 only                                                 ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                    ❑ Obligations arising out of a separation agreement or divorce that you did not report as
         ❑ At least one of the debtors and another                           priority claims
                                                                         ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify Credit Card
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 2 of 7
             Case 2:23-bk-18198-DS                    Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                      Desc
                                                      Main Document    Page 17 of 52
Debtor 1       Robert                                        Hernandez                      Case number (if known) 2:23-bk-18198-DS
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.3 BARCLAYS BANK DELAWARE                                     Last 4 digits of account number         0    8    3     9                        $1,503.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 12/18/2017
      PO BOX 8803
      Number            Street
                                                                 As of the date you file, the claim is: Check all that apply.

      WILMINGTON, DE 19899-8803                                  ❑ Contingent
      City              State                         ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.4 BARCLAYS BANK DELAWARE                                     Last 4 digits of account number         7    6    7     4                        $1,423.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                  8/9/2015
      PO BOX 8803
      Number            Street
                                                                 As of the date you file, the claim is: Check all that apply.

      WILMINGTON, DE 19899-8803                                  ❑ Contingent
      City              State                         ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3 of 7
             Case 2:23-bk-18198-DS                    Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                      Desc
                                                      Main Document    Page 18 of 52
Debtor 1       Robert                                        Hernandez                      Case number (if known) 2:23-bk-18198-DS
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.5 CHASE CARD SERVICES                                        Last 4 digits of account number         2    9     1    8                        $7,951.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 4/11/2011
      PO BOX 15298
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      WILMINGTON, DE 19850-5298                                  ❑ Contingent
      City              State                         ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.6 EDFINANCIAL SERVICES                                       Last 4 digits of account number         0    4     2    5                        $1,498.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 9/17/2007
      120 N SEVEN OAKS DR
      Number        Street
                                                                 As of the date you file, the claim is: Check all that apply.

      KNOXVILLE, TN 37922-2359                                   ❑ Contingent
      City               State                        ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:
      ❑ Debtor 2 only                                            ✔ Student loans
                                                                 ❑
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt
                                                                 ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.7 INTERNAL REVENUE SERVICE                                   Last 4 digits of account number                                                  $8,035.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                      2018
       CENTRALIZED INSOLVENCY OPERATION
      PO BOX 7346
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
      PHILADELPHIA, PA 19101-7346
                                                                 ❑ Contingent
      City               State                        ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another
                                                                    priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes


Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 7
             Case 2:23-bk-18198-DS                    Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                      Desc
                                                      Main Document    Page 19 of 52
Debtor 1       Robert                                        Hernandez                      Case number (if known) 2:23-bk-18198-DS
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.8 PORTFOLIO RECOVERY ASSOCIATES                              Last 4 digits of account number         7    4    5     4                        $8,712.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 12/17/2021
      150 CORPORATE BLVD
      Number       Street
                                                                 As of the date you file, the claim is: Check all that apply.

      NORFOLK, VA 23502-4952                                     ❑ Contingent
      City               State                        ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify FactoringCompanyAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.9 TRUIST BANK                                                Last 4 digits of account number         9    3    2     6                       $21,004.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                  8/1/2019
      PO BOX 85052
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      RICHMOND, VA 23285                                         ❑ Contingent
      City               State                        ZIP Code   ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:
      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                     priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Unsecured
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5 of 7
             Case 2:23-bk-18198-DS                  Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                         Desc
                                                    Main Document    Page 20 of 52
Debtor 1       Robert                                        Hernandez                       Case number (if known) 2:23-bk-18198-DS
               First Name             Middle Name           Last Name

   Part 3:      List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
    collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
    agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
    you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 1. PORTFOLIO RECOVERY ASSOCIATES                                 On which entry in Part 1 or Part 2 did you list the original creditor?
    Name
                                                                  Line 4.8 of (Check one):      ❑ Part 1: Creditors with Priority Unsecured Claims
     C/O KRISTEN KOHLER                                                                         ✔ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                ❑
    10680 TREENA ST STE 500
    Number     Street                                             Last 4 digits of account number

    SAN DIEGO, CA 92131-2447
    City                     State              ZIP Code




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6 of 7
                Case 2:23-bk-18198-DS                      Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                Desc
                                                           Main Document    Page 21 of 52
Debtor 1          Robert                                        Hernandez                    Case number (if known) 2:23-bk-18198-DS
                  First Name            Middle Name            Last Name

      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.   Domestic support obligations                                 6a.                          $0.00
 from Part 1
                   6b.   Taxes and certain other debts you owe the government         6b.                        $135.00

                   6c.   Claims for death or personal injury while you were           6c.                          $0.00
                         intoxicated

                   6d.   Other. Add all other priority unsecured claims.              6d.   +                      $0.00
                         Write that amount here.

                   6e.   Total. Add lines 6a through 6d.                              6e.
                                                                                                                 $135.00



                                                                                                Total claim

 Total claims      6f.   Student loans                                                6f.                      $1,498.00
 from Part 2
                   6g.   Obligations arising out of a separation agreement or         6g.                          $0.00
                         divorce that you did not report as priority claims

                   6h.   Debts to pension or profit-sharing plans, and other          6h.                          $0.00
                         similar debts

                   6i.   Other. Add all other nonpriority unsecured claims.           6i.   +                 $57,136.00
                         Write that amount here.

                   6j.   Total. Add lines 6f through 6i.                              6j.
                                                                                                              $58,634.00




Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                      page 7 of 7
                       Case 2:23-bk-18198-DS                        Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                    Desc
                                                                    Main Document    Page 22 of 52
 Fill in this information to identify your case:

     Debtor 1                       Robert                                   Hernandez
                                    First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)            First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                           Central District of California

     Case number                        2:23-bk-18198-DS                                                                                     ❑ Check if this is an
     (if known)                                                                                                                                  amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                                  State what the contract or lease is for

2.1

        Name

        Number             Street

        City                                     State   ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                              page 1 of 1
               Case 2:23-bk-18198-DS                       Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                             Desc
                                                           Main Document    Page 23 of 52
 Fill in this information to identify your case:

  Debtor 1           Robert                                           Hernandez
                     First Name              Middle Name             Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name             Last Name

  United States Bankruptcy Court for the:                  Central           District of       California

  Case number      2:23-bk-18198-DS
  (if known)                                                                                                                                  ❑ Check if this is an
                                                                                                                                                  amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ✔ No
        ❑
        ❑ Yes
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔ No. Go to line 3.
        ❑
        ❑ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑ No
          ❑ Yes. In which community state or territory did you live?                                         . Fill in the name and current address of that person.


                 Name of your spouse, former spouse, or legal equivalent


                 Number                   Street


                 City                              State                         ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                             Column 2: The creditor to whom you owe the debt

                                                                                                            Check all schedules that apply:
 3.1
        Name                                                                                                ❑ Schedule D, line
                                                                                                            ❑ Schedule E/F, line
        Number                          Street
                                                                                                            ❑ Schedule G, line
        City                                       State                                    ZIP Code

 3.2
        Name                                                                                                ❑ Schedule D, line
                                                                                                            ❑ Schedule E/F, line
        Number                          Street
                                                                                                            ❑ Schedule G, line
        City                                       State                                    ZIP Code




Official Form 106H                                                     Schedule H: Codebtors                                                               page 1 of 1
                    Case 2:23-bk-18198-DS                   Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                        Desc
                                                            Main Document    Page 24 of 52
 Fill in this information to identify your case:

  Debtor 1                  Robert                                     Hernandez
                           First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name        Last Name                                              Check if this is:

  United States Bankruptcy Court for the:                        Central District of California                              ❑ An amended filing
                                                                                                                             ❑ A supplement showing postpetition
  Case number                   2:23-bk-18198-DS                                                                                chapter 13 income as of the following date:
  (if known)

                                                                                                                                MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                Debtor 1                                          Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status                         ✔ Not Employed
                                                                            ❑ Employed ❑                                      ❑ Employed ❑ Not Employed
     attach a separate page with
     information about additional            Occupation
     employers.
                                             Employer's name
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address
     Occupation may include student                                          Number Street                                     Number Street
     or homemaker, if it applies.




                                                                             City                     State   Zip Code         City                State     Zip Code

                                             How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                          For Debtor 1   For Debtor 2 or
                                                                                                                         non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.              2.                 $0.00                     $0.00

 3. Estimate and list monthly overtime pay.                                                  3.   +             $0.00    +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                             4.                 $0.00                     $0.00




Official Form 106I                                                           Schedule I: Your Income                                                              page 1
                    Case 2:23-bk-18198-DS                                   Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                          Desc
                                                                            Main Document    Page 25 of 52
 Debtor 1                 Robert                                                       Hernandez                                     Case number (if known) 2:23-bk-18198-DS
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.                $0.00                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.               $0.00                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.               $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.               $0.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.               $0.00                    $0.00
       5e. Insurance                                                                                           5e.               $0.00                    $0.00
       5f. Domestic support obligations                                                                        5f.               $0.00                    $0.00
       5g. Union dues                                                                                          5g.               $0.00                    $0.00

       5h. Other deductions. Specify:                                                                          5h. +             $0.00        +           $0.00

 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.                $0.00                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.                $0.00                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.               $0.00                    $0.00
       8b. Interest and dividends                                                                              8b.               $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.               $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.               $0.00                    $0.00
       8e. Social Security                                                                                     8e.               $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                           8f.               $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.               $0.00                    $0.00

       8h. Other monthly income. Specify:                                                                      8h.   +           $0.00        +           $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.                $0.00                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.               $0.00    +               $0.00         =             $0.00

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.                 $0.00

                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ❑ No.                     Debtor is currently looking for work.
       ✔ Yes. Explain:
       ❑

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
                    Case 2:23-bk-18198-DS                     Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                       Desc
                                                              Main Document    Page 26 of 52
 Fill in this information to identify your case:

  Debtor 1                  Robert                                       Hernandez
                           First Name               Middle Name         Last Name                                Check if this is:
                                                                                                                 ❑ An amended filing
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name                                ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                         Central District of California
                                                                                                                      MM / DD / YYYY
  Case number                     2:23-bk-18198-DS
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ✔ No
                                               ❑
     Do not list Debtor 1 and                  ❑ Yes. Fill out this information         Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.                                                                                                                                    ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                    $2,000.00


     If not included in line 4:
                                                                                                                              4a.                           $0.00
     4a. Real estate taxes
                                                                                                                              4b.                           $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                              4c.                          $60.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                              4d.
     4d. Homeowner's association or condominium dues                                                                                                        $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
                    Case 2:23-bk-18198-DS                  Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                              Desc
                                                           Main Document    Page 27 of 52
 Debtor 1             Robert                                      Hernandez                                  Case number (if known) 2:23-bk-18198-DS
                      First Name            Middle Name           Last Name


                                                                                                                            Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                        $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                    $250.00

       6b. Water, sewer, garbage collection                                                                        6b.                       $0.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                    $300.00

       6d. Other. Specify:                                                                                         6d.                       $0.00

 7.    Food and housekeeping supplies                                                                              7.                     $400.00

 8.    Childcare and children’s education costs                                                                    8.                        $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                     $200.00

 10. Personal care products and services                                                                           10.                    $100.00

 11.   Medical and dental expenses                                                                                 11.                      $80.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                    $250.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                    $100.00

 14. Charitable contributions and religious donations                                                              14.                      $20.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                      $0.00
       15a. Life insurance
       15b. Health insurance                                                                                       15b.                      $0.00

       15c. Vehicle insurance                                                                                      15c.                     $50.00

       15d. Other insurance. Specify:                                                                              15d.                      $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                       $0.00

 17. Installment or lease payments:
                                                                                                                   17a.                   $218.00
       17a. Car payments for Vehicle 1               2017 Triumph Street
                                                                                                                   17b.                      $0.00
       17b. Car payments for Vehicle 2
                                                                                                                   17c.                      $0.00
       17c. Other. Specify:
                                                                                                                   17d.                      $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                      $0.00
       20b. Real estate taxes                                                                                      20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                      $0.00



Official Form 106J                                                          Schedule J: Your Expenses                                                  page 2
                Case 2:23-bk-18198-DS                     Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                  Desc
                                                          Main Document    Page 28 of 52
 Debtor 1             Robert                                      Hernandez                                     Case number (if known) 2:23-bk-18198-DS
                      First Name           Middle Name            Last Name



 21. Other. Specify:                                                                                                   21.    +                 $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                     22a.                 $4,028.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             22b.                     $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  22c.                 $4,028.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                                23a.                    $0.00

      23b. Copy your monthly expenses from line 22c above.                                                             23b.   –             $4,028.00

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                       23c.               ($4,028.00)
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ❑ No.          Explain here:
      ✔ Yes.
      ❑              Debtor's budget is minimal since he is living off of his savings and hopes to be employed soon.




Official Form 106J                                                         Schedule J: Your Expenses                                                      page 3
                    Case 2:23-bk-18198-DS                               Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                                             Desc
                                                                        Main Document    Page 29 of 52
 Fill in this information to identify your case:

  Debtor 1                      Robert                                               Hernandez
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                    Central District of California

  Case number                         2:23-bk-18198-DS                                                                                                                   ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                               $0.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                              $20,420.00

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                        $20,420.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                    $1,060.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                          $135.00


    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +              $58,634.00


                                                                                                                                                  Your total liabilities                      $59,829.00

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                          $0.00


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                     $4,028.00




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                         page 1 of 2
                Case 2:23-bk-18198-DS                      Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                    Desc
                                                           Main Document    Page 30 of 52
Debtor 1            Robert                                       Hernandez                                         Case number (if known) 2:23-bk-18198-DS
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
   ❑
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                              $1,425.00




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                              $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                   $135.00



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                           $0.00



    9d. Student loans. (Copy line 6f.)                                                                                        $1,498.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                           $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +                     $0.00



    9g. Total. Add lines 9a through 9f.                                                                                       $1,633.00




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                            page 2 of 2
Case 2:23-bk-18198-DS   Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06   Desc
                        Main Document    Page 31 of 52
                    Case 2:23-bk-18198-DS                   Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                     Desc
                                                            Main Document    Page 32 of 52
 Fill in this information to identify your case:

  Debtor 1                  Robert                                     Hernandez
                           First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                        Central District of California

  Case number                   2:23-bk-18198-DS                                                                                     ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                              Dates Debtor 1 lived      Debtor 2:                                           Dates Debtor 2 lived
                                                             there                                                                         there


                                                                                      ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                                  Number    Street
                                                           To                                                                             To



    City                             State ZIP Code                                      City                       State ZIP Code



                                                                                      ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                                  Number    Street
                                                           To                                                                             To



    City                             State ZIP Code                                      City                       State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
                Case 2:23-bk-18198-DS                   Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                     Desc
                                                        Main Document    Page 33 of 52
Debtor 1            Robert                                   Hernandez                                       Case number (if known) 2:23-bk-18198-DS
                    First Name        Middle Name            Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross Income                Sources of income           Gross Income
                                                Check all that apply.       (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)

                                               ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
    From January 1 of current year until the                                          $28,500.00
    date you filed for bankruptcy:                  bonuses, tips                                          bonuses, tips
                                               ❑ Operating a business                                  ❑ Operating a business

    For last calendar year:                    ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
                                                    bonuses, tips                     $58,910.00           bonuses, tips
    (January 1 to December 31, 2022       )
                                   YYYY        ❑ Operating a business                                  ❑ Operating a business

    For the calendar year before that:         ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
                                                    bonuses, tips                     $56,019.00           bonuses, tips
    (January 1 to December 31, 2021       )
                                   YYYY        ❑ Operating a business                                  ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross income from           Sources of income           Gross Income from
                                                Describe below.             each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the    Unemployment                           $12,600.00
    date you filed for bankruptcy:              benefits


    For last calendar year:
    (January 1 to December 31, 2022       )
                                   YYYY




    For the calendar year before that:
    (January 1 to December 31, 2021       )
                                   YYYY




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
                    Case 2:23-bk-18198-DS                         Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                    Desc
                                                                  Main Document    Page 34 of 52
Debtor 1             Robert                                            Hernandez                                      Case number (if known) 2:23-bk-18198-DS
                     First Name                   Middle Name          Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑ No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ❑ Yes.        List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                            paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                            not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔ Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ✔ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
              ❑
                            include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                            an attorney for this bankruptcy case.

                                                                  Dates of           Total amount paid         Amount you still owe       Was this payment for…
                                                                  payment

             FREEDOM ROAD FINANCIAL                               Monthly                         $654.00                 $1,060.00      ❑ Mortgage
                                                                                                                                         ❑ Car
             Creditor's Name
             10509 Professional Cir
             Number       Street                                                                                                         ❑ Credit card
             Reno, NV 89521-5864                                                                                                         ❑ Loan repayment
             City                         State      ZIP Code                                                                            ❑ Suppliers or vendors
                                                                                                                                         ✔ Other Motorcycle
                                                                                                                                         ❑


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.
                                                                Dates of           Total amount paid   Amount you still          Reason for this payment
                                                                payment                                owe



    Insider's Name


    Number     Street




    City                          State      ZIP Code




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
                  Case 2:23-bk-18198-DS                      Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                        Desc
                                                             Main Document    Page 35 of 52
Debtor 1             Robert                                       Hernandez                                       Case number (if known) 2:23-bk-18198-DS
                     First Name            Middle Name            Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                          Dates of            Total amount paid    Amount you still           Reason for this payment
                                                          payment                                  owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                     Nature of the case                      Court or agency                                  Status of the case


                                                                                                                                            ✔ Pending
                                                     Debt collecction
    Case title        Portfolio Recovery
                      Associates v. Robert
                                                                                            Superior Court of Los Angeles                   ❑
                                                                                                                                            ❑ On appeal
                                                                                            Court Name
                      Hernandez
                                                                                            Chatsworth Courthouse
    Case number 23CHLC01524
                                                                                                                                            ❑ Concluded
                                                                                            9425 Penfield Ave
                                                                                            Number       Street
                                                                                            Chatsworth, CA 91311-6516
                                                                                            City                      State     ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 4
                 Case 2:23-bk-18198-DS                        Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                 Desc
                                                              Main Document    Page 36 of 52
Debtor 1            Robert                                         Hernandez                                      Case number (if known) 2:23-bk-18198-DS
                    First Name             Middle Name             Last Name

                                                                    Describe the property                                Date             Value of the property



    Creditor’s Name


    Number     Street                                               Explain what happened

                                                                   ❑ Property was repossessed.
                                                                   ❑ Property was foreclosed.
                                                                   ❑ Property was garnished.
    City                           State    ZIP Code
                                                                   ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                            Describe the action the creditor took                      Date action was   Amount
                                                                                                                       taken
    Creditor’s Name


    Number     Street



    City                          State    ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 5
                 Case 2:23-bk-18198-DS                        Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                     Desc
                                                              Main Document    Page 37 of 52
Debtor 1             Robert                                        Hernandez                                      Case number (if known) 2:23-bk-18198-DS
                     First Name               Middle Name          Last Name

     Gifts with a total value of more than $600             Describe the gifts                                        Dates you gave     Value
     per person                                                                                                       the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                              State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities            Describe what you contributed                                Date you              Value
     that total more than $600                                                                                   contributed



    Charity’s Name




    Number     Street



    City                      State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                             Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
                 Case 2:23-bk-18198-DS                     Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                Desc
                                                           Main Document    Page 38 of 52
Debtor 1            Robert                                       Hernandez                                    Case number (if known) 2:23-bk-18198-DS
                    First Name            Middle Name            Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Description and value of any property transferred            Date payment or      Amount of payment
    Nexus Bankruptcy                                                                                         transfer was made
    Person Who Was Paid                         Attorney’s fees and filing fee
                                                                                                             5/2023                        $1,538.00
    100 Bayview Circle #100
    Number     Street




    Newport Beach, CA 92660
    City                     State   ZIP Code
    ben@nexusbk.com
    Email or website address


    Person Who Made the Payment, if Not You


                                                Description and value of any property transferred            Date payment or      Amount of payment
    001 DebtorCC Inc.                                                                                        transfer was made
    Person Who Was Paid                         Credit counseling
                                                                                                             11/9/2023                        $19.95
    378 Summit Ave
    Number     Street




    Jersey City, NJ 07306-3110
    City                     State   ZIP Code
    debtorcc.org
    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Description and value of any property transferred            Date payment or      Amount of payment
                                                                                                             transfer was made
    Person Who Was Paid



    Number     Street




    City                     State   ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
                Case 2:23-bk-18198-DS                     Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                  Desc
                                                          Main Document    Page 39 of 52
Debtor 1            Robert                                     Hernandez                                      Case number (if known) 2:23-bk-18198-DS
                    First Name            Middle Name          Last Name



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Description and value of property         Describe any property or payments           Date transfer was
                                                transferred                               received or debts paid in exchange          made

    Person Who Received Transfer


    Number     Street




    City                     State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Description and value of the property transferred                                     Date transfer was
                                                                                                                                      made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 8
                 Case 2:23-bk-18198-DS                    Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                    Desc
                                                          Main Document    Page 40 of 52
Debtor 1            Robert                                     Hernandez                                      Case number (if known) 2:23-bk-18198-DS
                    First Name            Middle Name          Last Name

                                                 Last 4 digits of account number         Type of account or     Date account was          Last balance
                                                                                         instrument             closed, sold, moved, or   before closing or
                                                                                                                transferred               transfer

    Name of Financial Institution
                                                 XXXX–                                ❑ Checking
                                                                                      ❑ Savings
                                                                                      ❑ Money market
    Number      Street


                                                                                      ❑ Brokerage
                                                                                      ❑ Other
    City                     State   ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Who else had access to it?                   Describe the contents                       Do you still have
                                                                                                                                           it?

                                                                                                                                          ❑ No
    Name of Financial Institution                Name
                                                                                                                                          ❑ Yes

    Number      Street                           Number    Street



                                                 City                 State   ZIP Code

    City                     State   ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Who else has or had access to it?            Describe the contents                       Do you still have
                                                                                                                                           it?

                                                                                                                                          ❑ No
    Name of Storage Facility                     Name
                                                                                                                                          ❑ Yes

    Number      Street                           Number    Street



                                                 City                 State   ZIP Code

    City                     State   ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 9
                   Case 2:23-bk-18198-DS                  Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                        Desc
                                                          Main Document    Page 41 of 52
Debtor 1            Robert                                      Hernandez                                            Case number (if known) 2:23-bk-18198-DS
                    First Name            Middle Name           Last Name

                                                  Where is the property?                             Describe the property                     Value


    Owner's Name
                                                 Number     Street


    Number     Street

                                                 City                       State   ZIP Code


    City                     State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Governmental unit                             Environmental law, if you know it              Date of notice


    Name of site                                Governmental unit



    Number     Street                           Number     Street


                                                City                State     ZIP Code


    City                     State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Governmental unit                             Environmental law, if you know it              Date of notice


    Name of site                                Governmental unit



    Number     Street                           Number     Street


                                                City                State     ZIP Code


    City                     State   ZIP Code


Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 10
                   Case 2:23-bk-18198-DS                    Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                      Desc
                                                            Main Document    Page 42 of 52
Debtor 1            Robert                                          Hernandez                                        Case number (if known) 2:23-bk-18198-DS
                    First Name            Middle Name               Last Name



  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Court or agency                          Nature of the case                                Status of the case


    Case title
                                                  Court Name
                                                                                                                                             ❑ Pending
                                                                                                                                             ❑ On appeal
                                                                                                                                             ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔ No. None of the above applies. Go to Part 12.
    ❑
    ❑ Yes. Check all that apply above and fill in the details below for each business.
                                                    Describe the nature of the business                      Employer Identification number
                                                                                                             Do not include Social Security number or ITIN.
    Name
                                                                                                              EIN:          –

    Number        Street
                                                    Name of accountant or bookkeeper                         Dates business existed

                                                                                                              From                 To

    City                     State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 11
Case 2:23-bk-18198-DS   Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06   Desc
                        Main Document    Page 43 of 52
                    Case 2:23-bk-18198-DS                   Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                   Desc
                                                            Main Document    Page 44 of 52
 Fill in this information to identify your case:

  Debtor 1                  Robert                                     Hernandez
                           First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                        Central District of California

  Case number                   2:23-bk-18198-DS                                                                                   ❑ Check if this is an
  (if known)                                                                                                                           amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                               12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier,
unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the
form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
and case number (if known).


 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
     Identify the creditor and the property that is collateral              What do you intend to do with the property that secures Did you claim the property as
                                                                            a debt?                                                 exempt on Schedule C?

    Creditor’s                                                              ❑ Surrender the property.                                ❑ No
    name:               FREEDOM ROAD FINANCIAL
                                                                            ❑ Retain the property and redeem it.                     ✔ Yes
                                                                                                                                     ❑
    Description of
    property
                        2017 Triumph Street
                                                                            ✔ Retain the property and enter into a
                                                                            ❑
    securing debt:                                                                Reaffirmation Agreement.
                                                                            ❑ Retain the property and [explain]:




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                         page 1
Case 2:23-bk-18198-DS   Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06   Desc
                        Main Document    Page 45 of 52
                    Case 2:23-bk-18198-DS                   Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06 Desc
 Fill in this information to identify your case:            Main Document    Page 46 of 52 Check one box only as directed in this form and in
                                                                                           Form 122A-1Supp:
  Debtor 1                  Robert                                      Hernandez
                                                                                                              ✔ 1. There is no presumption of abuse.
                                                                                                              ❑
                           First Name              Middle Name          Last Name

  Debtor 2
                                                                                                              ❑ 2. The calculation to determine if a presumption
  (Spouse, if filing)
                                                                                                                 of abuse applies will be made under Chapter 7
                           First Name              Middle Name          Last Name
                                                                                                                 Means Test Calculation (Official Form 122A-2).
  United States Bankruptcy Court for the:                        Central District of California               ❑ 3. The Means Test does not apply now because
                                                                                                                 of qualified military service but it could apply later.
  Case number                   2:23-bk-18198-DS
  (if known)
                                                                                                              ❑ Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                               12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or
because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp)
with this form.

 Part 1: Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
     ✔ Not married. Fill out Column A, lines 2-11.
     ❑
     ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
     ❑ Married and your spouse is NOT filing with you. You and your spouse are:
        ❑ Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
        ❑ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
  varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
  example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
  $0 in the space.

                                                                                                          Column A             Column B
                                                                                                          Debtor 1             Debtor 2 or
                                                                                                                               non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
    deductions).                                                                                                     $0.00

 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B
    is filled in.                                                                                                    $0.00

 4. All amounts from any source which are regularly paid for household expenses of you or
    your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and
    roommates. Include regular contributions from a spouse only if Column B is not filled in. Do
    not include payments you listed on line 3.                                                                       $0.00

 5. Net income from operating a business, profession,
                                                                        Debtor 1        Debtor 2
    or farm
     Gross receipts (before all deductions)                                 $0.00

     Ordinary and necessary operating expenses                      -       $0.00   -
                                                                                                   Copy
                                                                            $0.00
     Net monthly income from a business, profession, or farm                                       here
                                                                                                   →                 $0.00

 6. Net income from rental and other real property                      Debtor 1        Debtor 2
     Gross receipts (before all deductions)                                 $0.00

     Ordinary and necessary operating expenses                      -       $0.00   -
                                                                                                   Copy
                                                                            $0.00
     Net monthly income from rental or other real property                                         here
                                                                                                   →                 $0.00

 7. Interest, dividends, and royalties                                                                               $0.00

 Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                             page 1
                     Case 2:23-bk-18198-DS                                      Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06 Desc
Debtor 1                   Robert
                           First Name                     Middle Name
                                                                                Main Hernandez
                                                                                     Document
                                                                                     Last Name
                                                                                                 Page 47 of 52 Case number (if known) 2:23-bk-18198-DS
                                                                                                                            Column A                      Column B
                                                                                                                            Debtor 1                      Debtor 2 or
                                                                                                                                                          non-filing spouse
       8. Unemployment compensation                                                                                                   $1,425.00
           Do not enter the amount if you contend that the amount received was a benefit
           under
           the Social Security Act. Instead, list it here: ..................................................   ↓
           For you....................................................................................              $0.00
           For your spouse......................................................................
       9. Pension or retirement income. Do not include any amount received that was a                                                       $0.00
          benefit under the Social Security Act. Also, except as stated in the next sentence,
          do not include any compensation, pension, pay, annuity, or allowance paid by the
          United States Government in connection with a disability, combat-related injury or
          disability, or death of a member of the uniformed services. If you received any
          retired pay paid under chapter 61 of title 10, then include that pay only to the extent
          that it does not exceed the amount of retired pay to which you would otherwise be
          entitled if retired under any provision of title 10 other than chapter 61 of that title.
       10. Income from all other sources not listed above. Specify the source and amount.
           Do not include any benefits received under the Social Security Act; payments
           received as a victim of a war crime, a crime against humanity, or international or
           domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by
           the United States Government in connection with a disability, combat-related
           injury or disability, or death of a member of the uniformed services. If necessary,
           list other sources on a separate page and put the total below.




     Total amounts from separate pages, if any.                                                                             +                              +

                                                                                                                                     $1,425.00             +                        =     $1,425.00
       11. Calculate your total current monthly income. Add lines 2 through 10 for
           each column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                     Total current
                                                                                                                                                                                    monthly income

 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a. Copy your total current monthly income from line 11....................................................................................      Copy line 11 here →                $1,425.00

            Multiply by 12 (the number of months in a year).                                                                                                                            X 12
    12b. The result is your annual income for this part of the form.                                                                                                       12b.         $17,100.00

13. Calculate the median family income that applies to you. Follow these steps:
    Fill in the state in which you live.                                             California

    Fill in the number of people in your household.                                  1

    Fill in the median family income for your state and size of household.................................................................................................... 13.       $71,861.00
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?
         ✔ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
    14a. ❑
           Go to Part 3. Do NOT fill out or file Official Form 122A-2.
    14b. ❑ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
           Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                                  Chapter 7 Statement of Your Current Monthly Income                                                       page 2
Case 2:23-bk-18198-DS   Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06   Desc
                        Main Document    Page 48 of 52
                Case 2:23-bk-18198-DS                 Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06 Desc
 Debtor 1         Robert
                  First Name           Middle Name
                                                      Main Hernandez
                                                           Document
                                                           Last Name
                                                                       Page 49 of 52 Case number (if known) 2:23-bk-18198-DS


                                        Current Monthly Income Details for the Debtor(s)

                                                                  Debtor 1 Income Details:
                                                       Income for the Period 06/01/2023 to 12/01/2023.


Unemployment Compensation
Source of Income: Unemployment Compensation
Income by Month:
                        Date                Income
  6 Months ago               06/2023            $1,800.00
  5 Months ago               07/2023            $2,250.00
  4 Months ago               08/2023            $1,800.00
  3 Months ago               09/2023            $1,800.00
  2 Months ago               10/2023             $900.00
  Last Month                 11/2023                $0.00
                  Average per month:                   $1,425.00




Official Form                                        Chapter 7 Statement of Your Current Monthly Income                        page 1
             Case 2:23-bk-18198-DS                                   Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                                            Desc
                                                                     Main Document    Page 50 of 52

B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                Central District of California

In re        Hernandez, Robert

                                                                                                                           Case No.           2:23-bk-18198-DS

Debtor                                                                                                                     Chapter                       7


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $1,200.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $1,200.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                  Page 1 of 2
          Case 2:23-bk-18198-DS               Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06                                  Desc
                                              Main Document    Page 51 of 52

B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        12/26/2023                                             /s/ Benjamin Heston
                Date                                         Benjamin Heston
                                                             Signature of Attorney
                                                                                              Bar Number: 297798
                                                                                                 Nexus Bankruptcy
                                                                                           100 Bayview Circle #100
                                                                                         Newport Beach, CA 92660
                                                                                            Phone: (951) 290-2827

                                                                                Nexus Bankruptcy
                                                            Name of law firm




                                                                 Page 2 of 2
Case 2:23-bk-18198-DS   Doc 8 Filed 12/26/23 Entered 12/26/23 20:04:06   Desc
                        Main Document    Page 52 of 52
